Case 1:17-mj-00769-AMD         Document 29       Filed 08/13/18        Page 1 of 1 PageID #: 76


                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
CRH                                                271 Cadman Plaza East
F.#2017R01183                                      Brooklyn, New York 11201



                                                   August 13, 2018

By ECF

The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Rasheedul Mowla
                     Docket No. 17-MJ-769 (AMD)

Dear Judge Donnelly:

                As the Court is aware, the defendant recently withdrew his motion in the
above-captioned action, and that withdrawal was accepted today. Based on the timing of the
case so far, the government calculates that it has two days remaining to file an indictment or
information against the defendant pursuant to 18 U.S.C. § 3161(b). Accordingly, the
government respectfully requests that the Court enter an order excluding time until
September 12, 2018, before the government must file an indictment or information.
Exclusion of time is appropriate and the ends of justice are served because this case is
complex, and because the parties will use the time to engage in discussion of a potential
resolution of the case. See 18 U.S.C. § 3161(h)(7). Defense counsel does not object to the
exclusion of time.

                                                   Respectfully submitted,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                           By:           /s/
                                                   Margaret Lee
                                                   Craig Heeren
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cc:    Steve Zissou, Esq. (by ECF)
